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               UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
________________________________________________
                                                 )
Z.A. SEA FOODS PRIVATE LIMITED,                  )
B-ONE BUSINESS HOUSE PVT. LTD.,                  )
HARI MARINE PRIVATE LIMITED,                     )
MAGNUM EXPORT,                                   )
MEGAA MODA PVT. LTD.,                            )
MILSHA AGRO EXPORTS PRIVATE LTD.,                )
SEA FOODS PRIVATE LIMITED,                       )
SHIMPO EXPORTS PRIVATE LIMITED,                  )
FIVE STAR MARINE EXPORTS PVT. LTD.,              )
HN INDIGOS PRIVATE LIMITED,                      )
RSA MARINES, AND ZEAL AQUA LTD.,                 )
                                                 ) Court No. 21-00031
                     Plaintiffs,                 )
            v.                                   )
                                                 )
UNITED STATES,                                   )
                                                 )
                     Defendant,                  )
                                                 )
            and                                  )
                                                 )
AD HOC SHRIMP TRADE ACTION COMMITTEE,            )
                                                 )
                     Defendant-Intervenor.       )
________________________________________________)


                 PLAINTIFFS’ COMMENTS ON FINAL RESULTS OF
                         REMAND REDETERMINATION

     Plaintiffs, Z.A. Sea Foods Private Limited, B-One Business House Pvt. Ltd., Hari Marine

Private Limited, Magnum Export, Megaa Moda Pvt. Ltd., Milsha Agro Exports Private Limited,

Sea Foods Private Limited, Shimpo Exports Private Limited, Five Star Marine Exports Private

Limited, HN Indigos Private Limited, RSA Marines, and Zeal Aqua Limited, submit these

comments in response to the remand results filed by the Department of Commerce. See Final

Results of Redetermination Pursuant to Court Remand, Z.A Sea Foods Private Limited et al v.
         Case 1:21-cv-00031-GSK Document 64                  Filed 08/17/22   Page 2 of 3
Court No. 21-00031, Plaintiffs’ Comments on Remand Results


United States, Court No. 21-00031, Slip Op. 22-36 (CIT April 19, 2022), ECF No. 60 (“Remand

Results”). Plaintiffs agree with (1) Commerce’s conclusion on remand that there is insufficient

evidence that Z.A. Sea Foods’ third-country Vietnamese sales were unrepresentative and

unsuitable for use in the calculation of normal value and (2) Commerce’s recalculation of the

estimated weighted-average dumping margin for Z.A. Sea Foods by relying on Z.A. Sea Foods’

third-country Vietnamese sales during the period of review. As such, Plaintiffs agree that the

Remand Results comply with the Court’s remand order in Z.A Sea Foods Private Limited et al v.

United States, Court No. 21-00031, Slip Op. 22-36 (CIT April 19, 2022). Accordingly, Plaintiffs

respectfully request that the Court sustain Commerce’s Remand Results and enter a final

judgment in this action.

                                               Respectfully submitted,

                                               /s/ Robert G. Gosselink
                                               Robert G. Gosselink
                                               Jonathan M. Freed

                                               TRADE PACIFIC PLLC
                                               700 Pennsylvania Avenue, SE, Suite 500
                                               Washington, D.C. 20003
                                               Tel.: (202) 223-3760

                                               Counsel to Plaintiffs

Dated: August 17, 2022




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               UNITED STATES COURT OF INTERNATIONAL TRADE

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                                                 ) Court No. 21-00031
                     Plaintiffs,                 )
            v.                                   )
                                                 )
UNITED STATES,                                   )
                     Defendant,                  )
            and                                  )
                                                 )
AD HOC SHRIMP TRADE ACTION COMMITTEE,            )
                                                 )
                     Defendant-Intervenor.       )
________________________________________________)

     CERTIFICATE OF COMPLIANCE WITH CHAMBERS PROCEDURE 2(B)(1)

        The undersigned counsel at Trade Pacific PLLC hereby certifies that the Comments on
the Final Results of Remand Redetermination, dated August 17, 2022, complies with the word-
count limitation described in part 2(B)(1) of the Standard Chambers Procedures. The comments
contains 221 words according to the word-count function of the word-processing software used
to prepare the comments.

                                           Respectfully submitted,

                                           /s/ Robert G. Gosselink
                                           Robert G. Gosselink
                                           Jonathan M. Freed
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Dated: August 17, 2022                     Counsel to Plaintiffs
